Case 8:22-cv-02325-CJC-JDE Document 105 Filed 12/19/23 Page 1 of 2 Page ID #:2271
    1
    2
    3
    4
    5
    6
    7
    8                            UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
    9                                 6287+(51',9,6,21
    10 JOHN W. SIGLER                                   Case No.:
                                                        8:22−cv−02325−CJC−JDE
    11                     Plaintiff,
                v.
    12
         JORGE GONZALEZ, et al.
    13                                                 $0(1'('SCHEDULING ORDER
    14
    15                    Defendants.

    16
    17
    18
    19       $VH[SODLQHGLQWKH&RXUW VFRUUHVSRQGLQJRUGHUJUDQWLQJ'HIHQGDQW86$$
    20    &DVXDOW\,QVXUDQFH&RPSDQ\ VPRWLRQWRPRGLI\WKHVFKHGXOLQJRUGHU 'NW 
    21    WKH&RXUW$0(1'6WKH6FKHGXOLQJ2UGHU 'NW as follows:
    22               [1] All discovery, including discovery motions, shall be completed by$SULO
    23    , 202. Discovery motions must be filed and heard prior to this date.
    24               [2] The parties shall have until -XQ, 2024 to file and have heard allother
    25    motions, including motions to join or amend the pleadings.
    26               [3] A pretrial conference will be held on Monday, $XJXVW 2024 at
    27    03:00 PM.Full compliance with Local Rule 16 is required.
    28               >4] The case is set for a jury trial, Tuesday,AXJXVW, 2024 at 08:30
          AM.
                                                     −1−
Case 8:22-cv-02325-CJC-JDE Document 105 Filed 12/19/23 Page 2 of 2 Page ID #:2272
    1
              [5]The parties are referred to ADR Procedure No. 2 − Court Mediation Panel.
    2     The parties shall have until -DQXDU\ to conduct settlement proceedings.
    3     The parties shall file with the Court a Joint Status Report no later than five (5) days
    4     after the ADR proceeding is completed advising the Court of their settlement

    5     efforts and status.

    6
    7         IT IS FURTHER ORDERED that the Clerk of the Court shall serve copies of

    8     this Order on counsel for the parties in this matter.

    9
    10       IT IS SO ORDERED.

    11
         DATED: 'HFHPEHU, 2023
    12
                                              Cormac J. Carney
    13                                        United States District Judge
    14
    15
          cc: ADR OFFICE
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                                  −2−
